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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                       :
                     Plaintiff,                 :
                                                :
          v.                                    :      Civ. No. 18-2044
                                                :
ST. JOSEPH’S UNIVERSITY, et al.,                :
                 Defendants.                    :

                                          ORDER

      AND NOW, this 4th day of September, 2018, it is hereby ORDERED that:

   1. Defendant Roe’s psychiatric records show that she was diagnosed with Post-Traumatic

      Stress Disorder, thus confirming the truthfulness of her deposition testimony to this

      effect;

   2. Defendant Roe’s psychiatric records shall otherwise remain sealed. Defendant Roe is not

      required during her deposition to answer any questions respecting her psychiatric

      treatment;

   3. At the conclusion of Defendant Roe’s deposition, discovery in this matter will be closed;

   4. Dispositive motions shall be filed no later than September 24, 2018; and

   5. Responses to dispositive motions shall be filed no later than October 8, 2018.


                                                           AND IT IS SO ORDERED.

                                                           /s/ Paul S. Diamond
                                                           _________________________
                                                           Paul S. Diamond, J.
